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documents).6 Moreover, OpenAI has never explained why it cannot run at least some of the terms
proposed by The Times, including those that hit on a very small number of documents.7
    2. The Times Has Proposed Search Terms Related to Issues Central to This Case.
             a. Terms Related to the Outputs of Defendants’ Products
        The Times proposes several terms designed to capture documents related to the outputs of
Defendants’ products—e.g., how ChatGPT responds to user queries. Ex. 1, Section A. Despite
arguing elsewhere that these outputs are central to this case, see Dkt. 72 ¶¶ 41-42, OpenAI has run
only four search terms on this issue, which have yielded paltry document hit counts (approximately
       combined hits). The Times’s proposal includes terms related to the technology underlying
generative search known as retrieval augmented generation (“RAG”), which enables Defendants’
products to display extensive excerpts or paraphrases of Times content.8 See, e.g., FAC ¶¶ 81, 108-
23, 163. See Dkt. 153 at 2-3 (discovery on “generative search technology” will be “significant”).
        Relatedly, The Times’s proposal includes “paywall” and terms focused on
which relate to how Defendants’ products enable users to circumvent paywalls and generate
verbatim copies of copyrighted content. FAC ¶¶ 102–23, 157.9 These terms are likely to yield
additional responsive documents, as evidenced by OpenAI’s productions to date. See Ex. 3 at -03
(email discussing a                                      ).
             b. Terms Related to GenAI and Journalism
        The Times proposes several terms targeted at the relationship between GenAI and
journalism, including harm to The Times. Ex. 1, Section B; see FAC ¶¶ 47-48, 154-57 (“GenAI
products threaten high-quality journalism”). OpenAI should run “NY Times” (and other
iterations), particularly given the low hit counts. Ex. 1, Term 11. The “NY Times” terms will
capture, among other documents, information related to the
                    Ex. 4 at -27. These terms also capture documents about the diversion of traffic
from The Times and other publishers. E.g., Term 13. OpenAI has run only two search terms related
to these issues (11 and 33), which again hit on a paltry number of documents (roughly         ).
             c. Terms Related to The Times’s Legal Claims
        The Times proposes terms designed to capture documents related to copyright
infringement, trademark infringement, and the DMCA claims. Ex. 1, Section C; see FAC ¶¶ 158-
91. These terms will test Defendants’ assertions that Defendants genuinely believed their conduct
constituted fair use. Dkts. 52 at 7; 65 at 16. See also Ex. 5 at -71

6
  The Times has also moved to compel OpenAI to produce documents from more custodians. Dkt. 204. That dispute
has no bearing on this one, including because, in violation of the agreed portion of the ESI Order, OpenAI refuses to
provide hit counts for those additional custodians. Dkt. 204-1 at 10; Dkt. 135-2 ¶ 5. OpenAI has only provided updated
hit counts for the four additional custodians it agreed to add on July 31. See Dkt. 211; Ex. 2. Moreover, those updated
hit counts were only run against The Times’s proposed terms—not the search terms OpenAI initially agreed to run (as
reflected in Exhibit 1, Column E). As such, the hit counts presented in Exhibit 1 is the only set of hit counts that
compares the parties’ competing terms to the same set of custodians—specifically, the 12 custodians initially selected
by OpenAI.
7
  During a July 31 call, OpenAI for the first time asked The Times to provide a list that specifies, for each proposed
search term, the particular RFP that applies to that term. The Times rejected this request because, among other reasons,
OpenAI never once during the prior six weeks raised any relevance objection to any proposed term.
8
   OpenAI initially refused to produce documents related to RAG but changed its position after The Times filed a
motion to compel on this issue. Dkts. 141, 147.
9
   See also OpenAI and Journalism, OPENAI (Jan. 8, 2024), https://openai.com/index/openai-and-journalism/
(describing problems with memorization and regurgitation).

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                                                Respectfully submitted,

                                                /s/ Ian B. Crosby
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                                                Susman Godfrey L.L.P.

                                                /s/ Steven Lieberman
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cc:   All Counsel of Record (via ECF)




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